     Case 21-14486-abl        Doc 240     Entered 08/16/22 09:27:26         Page 1 of 1



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 2
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 3   376 E Warm Springs Rd, Suite 130
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 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6                          UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF NEVADA
 7

 8    In re:                                                Case No. 21-14486-abl
                                                            Chapter 7
 9   INFINITY CAPITAL MANAGEMENT, INC.
      dba INFINITY HEALTH CONNECTIONS,                      CERTIFICATE OF SERVICE
10

11                           Debtor.

12   The undersigned hereby certifies that I caused to be served the following document(s):
           NOTICE OF ENTRY OF ORDER (DE #239)
13
     at the time and by the following means to the persons and entities as listed below:
14

15
               ■ U.S. MAIL – On August 16, 2022 to:
16

17                   IMTISAL KHURI
18
                     1148 BROKEN HILLS DR
                     HENDERSON NV 89011-3073
19

20
     DATED: August 16, 2022             ATKINSON LAW ASSOCIATES LTD.
21
                                                By:           /s/ Clarisse Crisostomo
22
                                                      CLARISSE L. CRISOSTOMO, ESQ.
23                                                    Nevada Bar No. 15526
                                                      Attorney for Robert E. Atkinson, Trustee
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